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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

IN RE:                                                         CASE NO.: 3:24-bk-00496-BAJ
      GENIE INVESTMENTS NV, INC.
            Debtor (s).
_______________________________________/

                   MOTION TO ALLOW POST-PETITION RETAINER

         The Debtor, GENIE INVESTMENTS NV, INC., moves the Court to approve the payment

of a post-petition retainer to The Law Offices of Mickler & Mickler, LLP in the amount of

$25,000.00. The proposed payment is to be paid to the trust account of the attorney and is for

representation by the attorney on behalf of the debtor in their Chapter 11 case. The source of the

funds are pre-petition funds of the Debtor.

                                      Certificate of Service

       I Hereby Certify that, on February 28, 2024, a copy of the foregoing was filed electronically
with the Court’s CM/ECF filing system which will generate an electronic notice of filing to the
United States Trustee and all interested parties as per the attached matrix.


                                                       Law Offices of Mickler & Mickler, LLP


                                                       By: _/s/ Bryan K. Mickler_________
                                                            Bryan K. Mickler
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